Case 8:25-cv-01019-WFJ-AAS Document1-2 Filed 04/23/25
(Rev. 03/24) CIVIL COVER SHEET

The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM)

Il. (a) PLAINTIFFS DEFENDANTS

Satyajith Bommana Boyana Todd M. Lyons, Acting Director, U.S. Immigration And

Page 1 of 1 PagelD 13

JS 44

County of Residence of First Listed Defendant
(IN U.S. PLAINTIFE CASES ONLY)

IN LAND CONDEMNATION CAS USE THE LOCATION OF

THE TRACT OF LAND INVOL

APR 23 2025 awiO: 18
FILED - USDC - FLMD - TPA

(b) County of Residence of First Listed Plaintiff
(EXCEPT IN US. PLAINTIFF CASES)

NOTE

(c) Attomeys (Firm Name, Address, ana Telephone Number) Attorneys (If Known)

4874 Foxglove Cir, Lakeland, FL 33811

Hl. CITIZENSH IP OF PRINCIPAL PARTIES (Place an “X" in One Box for Plaintiff

(For Diversity Cases Oniy) and One Box for Defendant)

Il. BASIS OF JURISDICTION (piace an "x"

in One Box Only)

U.S. Government PTF DEF

LJ

Plaintiff

5

U.S. Government
Defendant

CT 3 Federal Question

oO 4 Diversity

0

(U8. Government Not a Party) Citizen of This State

Citizen of Another State
(Indicate Citizenship of Parties in tem Tl)

Citizen or Subject of a
Foreign Country

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Incorporated or Prir

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ncipal Place

of Business In This State

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Incorporated and Principal Place

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of Business In Another State

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Foreign Nation

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IV. NATURE OF SUIT (Place an "x" in One Box Only) Click here for: Nature of Suit Code Descriptions,
| CONT RACT TORTS FORFEITURE/PENALTY BANKRUPTCY OTHER STATUTES

110 Insurance
120 Marine

A

130 Miller Act
140 Negotiable Instrument
C] 150 Recovery of Overpayment
& Enforcement of Judgment
151 Medicare Act
152 Recovery of Defaulted
Student Loans
(Excludes Veterans)
CJ 153 Recovery of Overpayment
of Veteran's Benefits
C] 160 Stockholders’ Suits
iiss) 190 Other Contract
195 Contract Product Liability
196 Franchise

REAL PROPERTY

[]625 Drug Related Seizure
of Property 21 USC 881

PERSONAL INJURY
310 Airplane

PERSONAL INJURY
Oo 365 Personal Injury

422 Appeal 28 USC 158
423 Withdrawal

H

375 False Claims Act
376 Qui Tam (31 USC

Leave Act
790 Other Labor Litigation

Medical pocarererrrceneearem
| CIVILRIGHTS |

PRISONER PETITIONS

864 SSID Title XVI
|] 865 RSI (405(g))

890 Other Statutory Actions
891 Agricultural Acts

315 Airplane Product Product Liability | ]690 Other 28 USC 157 372%a))
Liability CT 367 Health Care/ INTELLECTUAL 400 State Reapportionment
320 Assault, Libel & Pharmaceutical PROPERTY RIGHTS 410 Antitrust
Slander Personal Injury $20 Copyrights 430 Banks and Banking
330 Federal Employers’ Product Liability $30 Patent 450 Commerce
Liability 368 Asbestos Personal 835 Patent - Abbreviated 460 Deportation
340 Marine Injury Product New Drug Application 470 Racketeer Influenced and
345 Marine Product Liability $40 Trademark Corrupt Organizations
Liability PERSONAL PROPERTY LABOR $80 Defend Trade Secrets | 480 Consumer Credit
350 Motor Vehicle 370 Other Fraud 710 Fair Labor Standards Act of 2016 (15 USE 1681 or 1692)
355 Motor Vehicle - 371 Truth in Lending Act |_| 485 Telephone Consumer
Product Liability LJ 380 Other Personal |_]720 Labor/Management SOCIAL SECURITY Protection Act
360 Other Personal Property Damage Relations 861 HIA (1395 ff) 490 Cable/Sat TV
Injury i 385 Property Damage 740 Railway Labor Act $62 Black Lung (923) 850 Securities/Commodities’
362 Personal Injury - Product Liability 751 Family and Medical 863 DIWC/DIWW (405(2)) L Exchange
|)

210 Land Condemnation
220 Foreclosure

230 Rent Lease & Ejectment
240 Torts to Land

245 Tort Product Liability
290 All Other Real Property

CILLT VI

440 Other Civil Rights

441 Voting

442 Employment

443 Housing
Accommodations

| _]791 Employee Retirement
Income Security Act

Habeas Corpus:
463 Alien Detainee
510 Motions to Vacate

Sentence

|_| 530 General

893 Environmental Matters

895 Freedom of Information

"EDERAL TAX SUITS
870 Taxes (U.S. Plaintiff

or Defendant)
{| 871 IRS—Third Party

445 Amer. w/Disabilities -[__] $35 Death Penalty IMMIGRATION

26 USC 7609

Other:

540 Mandamus & Other

550 Civil Rights

$55 Prison Condition

$60 Civil Detainee -
Conditions of
Confinement

462 Naturalization Application
465 Other Immigration
Actions

Employment

446 Amer, w/Disabilities -
Other

448 Education

Act
896 Arbitration
899 Administrative Procedure
Act/Review or Appeal of
Agency Decision
|_] 950 Constitutionality of
State Statutes

V. ORIGIN (Place an “x in One Box Only)

x) | Original

Proceeding

2 Remov
State C

3

Remanded from
Appellate Court

ed from
ourt

C4 Reinstated or a §

Reopened

Transferred from
Another District

6

Multidistrict
Litigation -

oO 8 Multidistrict
Litigation -

(specify) Transfer Direct File
Cite the U_S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
5 U.S.C. 551
VI. CAUSE OF ACTION
Brief description of cause:
Challenge to final agency action
VIL. REQUESTED IN (_] CHECK IF THIS IS A CLASS ACTION DEMANDS CHECK YES only if demanded in complaint:

COMPLAINT:

UNDER RULE 23, F.R.Cv.P

JURY DEMAND:

[]yYes Xl No

VIIL RELATED CASE(S)

IF ANY

(See instructions):

JUDGE DOCKET NUMBER
DATE SIGNATURE.OF ATTORNEY, OF RECORD
[b. Gelisae
FOR OFFICE USE ONLY (—_
RECEIPT # AMOUNT APPLYING IFP JUDGE MAG. JUDGE

